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Petition Exhibit 1

 

Declaration of Harris A. Senturia

(F@b. 1, 2019)

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

 

FEDERAL TRADE COMMISSION,
Petitioner, 7
v. Misc. No.
FULLY ACCOUNTABLE, LLC, and
' sARAH sCAvA,

Respondents.

 

 

DECLARATION OF HARRI_S A. SENTURIA

Pursuant to 28 U.S.C. § 1746, I declare as follows:

1. I am an attorney employed by the U.S. Federal Trade Commission
(FTC or Commission). My business address is F,ederal Trade Commission, East
Central Region, 1111 Superior Avenue, Suite 2Q0, Cleveland, Ohio 44114. l am
assigned to the FTC’s investigation into Fully Accountable, LLC (FTC File No.
1723195). This investigation seeks to determine if Fully Accountable, certain
entities With Which it did business, and related entities and individuals, have
engaged in deceptive or unfair practices in connection with internet sales of
consumer products, in violation of Sections 5 and 12 of the Federal Trade
Commission Act (FTC Act), 15 U.S.C. §§ 45, 52. The investigation also seeks to
determine whether Fully Accountable and these entities have engaged in deceptive

or unfair acts or practices by charging or participating in the charging, in any

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respect, for consumer products without consumers’ authorization, in violation of
Section 5 of the FTC Act.

2. l am authorized to execute a declaration verifying the facts that are set
forth in the Federal Trade Commission’s Petition to Enforce Civil lnvestigative
Demands. l have read the petition and exhibits thereto (hereinafter referred to as
Pet. Ex.), and verify that Pet. EX. 2 through Pet. Ex. 7 are true and correct copies of
the original documents. The facts set forth herein are based on my personal
knowledge or information made known to me in the course of my official duties.

3. Fully Accountable is an Ohio limited liability company With its
principal place of business at 2680 West Market Street, Fairlawn, Ohio 44333. Fully
Accountable markets itself as a “Back Office Solution” specializing in providing
services to internet marketers. These services include compiling and reporting
financial statistics, accounting and bookkeeping, business consulting, and assisting
its clients to obtain and manage credit card payment processing accounts

4. Sarah Scava is an individual whose last known address is in
Wadsworth, Ohio. l\/ls. Scava Was formerly employed by Fully Accountable. During
her time at Fully Accountable, l\/ls. Scava established and was involved With a
company called Elevated Health, LLC.

5. In 2017, the FTC opened an investigation into Fully Accountable after
learning that among Fully Accountable’s clients are a group of entities that have
marketed online several dietary supplements including some that purportedly

reduce cognitive decline and related diseases and conditions. The FTC also learned

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that some consumers complained about these entities’ marketing practices, and
claimed that the entities made unauthorized charges to consumers’ credit cards.
Consistent with the terms of the Cle, l Will refer to this group as the “Group A
Entit_i_es.”

6. The FTC also learned that Fully Accountable itself Was closely related
to a second group of entities that marketed dietary supplements and skin creams
online and that were the subject of numerous consumer complaints regarding their
marketing practices, including unauthorized charges to consumers’ credit cards.
Consistent With the terms of the Cle, l Will refer to this group as the “Group B
Entities.” l

7. The Commission issued a ClD to Fully Accountable on September 21,
2017 (2017 CID), under the authority of three FTC resolutions, each of which
authorizes the use of compulsory process to investigate the conduct at issue.

8. The first resolution, File No. 0023191, authorizes Commission staff to
use compulsory process to investigate Whether entities are “directly or indirectly”
“misrepresenting the safety or efficacy’.’ of “dietary supplements, foods, drugs
devices, or any other product intended to provide a health benefit” on the grounds
that such conduct could amount to “unfair or deceptive acts or practices or . . . false
advertising in violation of Sections 5 and 12 of the Federal Trade Commission
Act, 15 U.S.C. §§ 45 and 52.”

9. The second resolution, File No. 9923259, authorizes the use of

compulsory process to investigate whether entities are engaging in, among other

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actions, “deceptive or unfair practices involving Internet-related goods or services.”
If so, such conduct could violate Sections 5 or 12 of the Federal Trade Commission
Act, 15 U.S.C. §§ 45, 52.

10. The third resolution, File No. 082-3247, authorizes the use of
compulsory process to determine if entities “have engaged in or are engaging in
deceptive or unfair practices . . . in connection with making unauthorized charges or
debits to consumers’ accounts.” lf'so, this conduct could violate Section 5 of the
Federal Trade Commission Act, 15 U.S.C. § 45, and/or the Electronic Fund Transfer
Act, 15 U.S.C. § 1693, et seq.

11. Fully Accountable failed to comply with the 2017 ClD. Although Fully
Accountable submitted a notarized Certificate of Compliance, the company in fact
provided no documents and only partial or evasive responses to the few answered
interrogatories As a result, on June 8, 2018, the Commission commenced an action
in the Northern'District of Ohio to enforce the 2017 CID. FTC v. Fully Accou,n.tc_zble,
LLC, 5:18-mc-()0054-SL (N.D. Ohio filed June 8, 2018) [hereinafter Fu.lly
Accountable 1].

12. Fully Accountable did not file an opposition to the FTC’s Petition to
Enforce Civil lnvestigative Demand; instead the company only filed a Motion for
Permanent Seal on June 22, 2018. Fully Accou,ntable I,'."Doc. 8. The Court denied
that motion on July 5, 2018. Id., Doc. 11. While the case was pending, Fully

Accountable made multiple additional and partial productions of information. On

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August 13, 2018, the district court issued an order requiring Fully Accountable to
comply fully within 10 days. Id., Doc. 14.

13. On August 17, 2018, Fully Accountable made what it claimed Was its
final production in response to the 2017 ClD. On August 23, 2018, Fully
Accountable sent a second Certificate of Compliance, certifying that “all of the
documents, information and tangible things” required by the CID had been
submitted

14. As my colleagues and l`reviewed the supplemental responses, We
observed several deficiencies and inconsistencies, With a few non-exhaustive

examples as follows:

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15. To explore these and other deficiencies and inconsistencies, to
determine Whether Fully Accountable had complied With the Court’s Order, and to
obtain more information in support of the investigation, the Commission issued a
l second CID to Fully Accountable on September 10, 2018 (2018 Fully Accountable
CID). Pet. Ex. 2 at 3. The 2018 Fully Accountable CID seeks only testimony,
through What the FTC refers to as an lnvestigational Hearing. Due to the length of
time Fully Accountable had taken to respond to the 2017 CID with written
information and documents, and the many questions left unanswered (or generated)
by the written responses and documents after nearly a year and after the
enforcement proceeding, we concluded that testimony Would be the most direct and
efficient Way to move the investigation forward quickly.

16. The 2018 Fully Accountable CID seeks testimony from that entity on
seven topics. These topics included the company’s responses to the 2017 CID, the
company’s document preservation efforts, the company’s records management
system, and its relationships to Sarah Scava and an entity called Elevated Health,

LLC. Pet. Ex. 2 at 6.

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17. Testimony about the company’s response to the 2017 ClD, its
document preservation, and its records management system are relevant to our
investigation because that information provides context and helps us understand
Fully Accountable’s responses to date. Testimony in these areas Will also go to show
Whether Fully Accountable has failed to produce or preserve information that is
responsive to the ClD.

18. . Elevated Health is an Ohio limited liability company formed by Sarah
Scava in December 2016. Based on our investigation, the company (like the Group A
and Group B Entities) appears to be involved in marketing products to consumers
over the internet. Recent public filings indicate that Sarah Scava was involved With
Elevated Health While she was a Fully Accountable employee and also that
Elevated Health has been a “client” of Fully Accountable. See Pet. Ex. 4 at 6; Pet.
Ex. 5 at 4, 7, 8; Fu,lly Accountoble I, Doc. 21 at 19.1 In addition, Elevated Health has
displayed onl its Website a business address that is the address of a property owned
by the wife of former Fully Accountable CEO (and current CFO) Chris Giorgio. We
therefore have substantial reason to explore the connections among Fully
Accountable and its associated entities and individuals With Elevated Health, and
to seek more information about Elevated Health’s business

19. The Commission issued a CID to Sarah Scava on September 10, 2018
(the 2018 Sarah Scava CID). Pet. EX. 3 at 3. The 2018 Sarah Scava ClD also seeks

only testimony through an lnvestigational Hearing. Again, given the timeline of the

 

1 Citations to docket entries are to page numbers in ECF-added headers.

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investigation, and the difficulty in obtaining written responses and documents
related to Fully Accountable, We concluded that testimony would be the most direct
and efficient Way to elicit information from Sarah Scava.

20. The 2018 Sarah Scava CID calls for her personal testimony on 13
topics, including her work With Fully Accountable, her involvement With Elevated
Health and its business, and the relationships among Sarah Scava, Elevated
Health, and other entities and individuals at issue in the investigation Pet. Ex. 3 at
6-7. Like the CID to Ful_ly Accountable, the information sought by this CID is
relevant to the investigation because it provides further information about the
relationships between and among Fully Accountable and related entities and
individuals

21. Both of the 2018 CIDs were authorized under the three resolutions
described above. lPet. Ex. 2 at 9-11; Pet. Ex. 3 at 10-12. Further, the Cle both
contained a “Subject of lnvestigation’-’ statement that summarized this authority .
and applied it specifically to the Fully Accountable investigation That statement
provided that the Commission was investigating

[w]hether Fully Accountable, the Group A Entities, or the Group B

Entities . . . and related entities or individuals, have made or

participated in making, in any respect, false, misleading, or

unsubstantiated representations in connection With the marketing of

consumer products, in violation of Sections 5 and 12 of the Federal -

Trade Commission Act (“FTC Act”), 15 U.S.C. §§ 45 and 52, or have

engaged in deceptive or unfair_acts or practices by charging or

participating in the charging, in any respect, for consumer products

without consumers’ authorization, in violation of Section 5 of the FTC

Act, and whether Commission action to obtain monetary relief would
be in the public interest.

Pet. Ex. 2 at 5-6; Pet. Ex. 3 at 5-6

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22. ln issuing the 2018 Cle, the Commission followed all the procedures
and requirements of the FTC Act and its Rules of Practice and Procedure. See, e.g.,
15 U.S.C. §§ 57b-1(c)(2), (c)(6), (c)(7); 16 C.F.R. § 2.7. The Cle Were properly signed
by Commissioner Rohit Chopra pursuant to the resolutions as required by Section
20 of the FTC Act. See Pet. Ex. 2 at 3; Pet. Ex. 3 at 3; see also 15 U.S.C. § 57b-1(i);
16 C.F.R. § 2.7(a). The FTC served the Cle on Fully Accountable and on Sarah
Scava on September 11, 2018. See 15 U.S.C. §§ 57b-1(c)(8), (c)(9); 16 C.F.R.
§4.4(a)(3). The 2018 Fully Accountable CID Was delivered and signed for by an l
individual named “Scava” on September 13, 2018. The 2018 Sarah Scava CID was
delivered and signed for by an individual named “Scava” on September 14, 2018.

23. Follovving service of the Cll)s, l had a call With Fully Accountable’s
counsel, Rachel Scava, on Septem_ber 24, 2018, to discuss dates for Fully
lAccountable’s testimony. She informed-me that Fully Accountable intended to
amend its responses to the 2017 CID which it had previously certified as complete.
Following this phone call, Rachel Scava provided a supplemental response that now
identified Sarah Scava a_s a former Fully Accountable employee._Neither in her
emails nor in our discussion did Rachel Scava mention the 2018 Sarah Scava CID.

24. On September 27, 2018, l received an email from Rachel Scava
indicating that she had received the 2018 Sarah Scava CID from Sarah Scava.
Rachel Scava also confirmed that she Was representing Sarah Scava for purposes of
the CID issued to Sarah. In a call on September 28, 2018, Rachel Scava expressed

that Sarah Scava Was not available to appear as she had new employment and

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could not take time off work. Rachel Scava requested that the Commission modify
the 2018 Sarah Scava CID to require interrogatory responses_only, in lieu lof
testimony.

25. During follow-up calls regarding the 2018 Sarah Scava CID, We offered
to negotiate a time for the testimony during non-business hours on a Saturday and
at a location convenient to Sarah Scava’s home or Work. In response, however,
Rachel Scava informed us that her client would not appear for testimony at all,
regardless of our offered accommodations, because sitting for testimony would be `
unduly burdensome Rachel Scava continued to request that the Commission
modify the 2018 Sarah Scava CID to require interrogatory responses only, and no
testimony Given our experience in the course of the investigation, this struck us as
highly inefficient and we could not accept this modification

26. On October 5, 2018, in the midst of these discussions, Fully
Accountable filed with the Commission a petition to limit or quash the 2018 Fully
Accountable CID for testimony, claiming that the ClD sought information
irrelevant to and outside of the scope of the investigation Fully Accountable also
claimed that the CID for testimony was unduly burdensome Pet. Ex. 4.

27 . That same day, Elevated Health (not Sarah Scava), a non-party, also
filed with the Commission a petition to limit or quash the 2018 Sarah Scava CID on
various asserted grounds, including that the ClD was unreasonable because Sarah
Scava was no longer involved With Elevated Health, that the CID sought

information outside of the scope of the investigation, and that Sarah Scava should

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be permitted to provide written responses in lieu of testimony. Pet. Ex. 5. The filing
by Elevated Health (rather than Sarah Scava) surprised us, as Rachel Scava had
not informed us that she Was representing Elevated Health in any of our
conversations

28. On November 19, 2018, the Commission issued a seven-page opinion
denying both petitions to limit or quash. Pet. Ex. 6. Accordingly, the Commission
ordered Sarah Scava to appear for testimony on November 29, 2018 and Fully
Accountable to appear for testimony on November 30, 2018, or at the time, date,
and location as Commission staff may determine Pet. Ex. 6 at 7.

29. On November 26, 2018, l emailed Rachel Scava to confirm she had
received notice that the petitions had been denied. 8he informed us that she Was
not available on the dates as set in the Commission’s order, and requested that we
suggest alternative dates. l replied with suggested alternate dates. Pet. Ex. 7 at 2.

30. ' On November 28, 2018, Fully Accountable filed a Petition to Enforce
Petition to Quash and Limit. Fully Accountable I, Doc. 21. Shortly after the
November 28, 2018 filing, Rachel Scava informed me by email that neither Fully
Accountable nor Sarah Scava would schedule a hearing until a determination on
that Petition was made by the Court. Pet. Ex. 7 at 1.

31. Fully Accountable’s and Sarah Scava’s refusal to comply With the
Commission’s Cle have burdened, delayed, and hindered the Commission’s

investigation

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l declare under penalty of perjury that the foregoing is true and correct.

Executed on February /_, 2019 »Mé

Harris A. Senturia, Staff Attorney
East Central Region Office
Federal Trade Commission

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